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                        UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF NEW MEXICO



UNITED STATES OF AMERICA,

                    Plaintiff,

v.                                                     Case No. CR 11‐2972 BB

MARTINIANO MARIN‐ROBLES,

                    Defendant.

          PROPOSED FINDINGS AND RECOMMENDED DISPOSITION

      THIS MATTER is before the Court on the United States’ Motion for Order to

Show Cause and Forfeiture of Appearance Bond (doc. 248), in which Plaintiff moves the

Court for a Judgment of Forfeiture of the $25,000.00 bond executed by the defendant,

third party custodian Isidra Marin, and surety Alice R. Cervantez. The Court having

held a hearing, having heard from all the parties, and being fully advised in the

premises, recommends that the Motion be GRANTED.

                                    BACKGROUND

      Defendant Martiniano Marin‐Robles was charged on November 29, 2011 in count

one of a two count Indictment with conspiring with others to possess with intent to

distribute a large quantity of methamphetamine, in violation of 21 U.S.C. § 846. The

defendant was subsequently arrested and appeared before this Court for an

Arraigment/Detention hearing on December 2, 2011. At said hearing, I granted the

defendant Conditions of Release which included posting a $25,000.00 secured bond (to
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be cosigned by the third party custodian, Isidra Marin), Pretrial Services supervision,

and travel restrictions including no travel to Mexico, along with other requirements as

set out in the Order Setting Conditions of Release (doc. 162) filed on December 14, 2012.

       On January 13, 2012, a Petition for Action of Conditions of Release was filed by

the U.S. Pretrial Services Office requesting a warrant be issued for the defendant’s arrest

as it appeared he had absconded. That request was granted in an Order filed the same

day, and an arrest warrant was issued.

       At the hearing on the Motion held on April 10, 2012, Mr. Felipe Millan stood in

for Defendant’s counsel, Ken Del Valle, but Defendant failed to appear. Defense

counsel presented no excuse for Defendant’s failure to appear nor for Defendant’s

apparent violation of conditions of release, and admitted that the defendant was, in fact,

a fugitive. Furthermore, the third‐party custodian, Isidra Marin, nor the surety, Alice

Cervantez, were present at said hearing to provide any information about the

defendant’s whereabouts, or to show cause why the bond should not be forfeited.

       IT IS THEREFORE RECOMMENDED that Judgment be entered against the

defendant, Martiniano Marin‐Robles, the third party custodian, Isidra Marin, and the

surety, Alice R. Cervantez, in the principal amount of $25,000.00 plus interest at the

legal rate compounded annually and computed daily until paid, and all other costs as

allowed by law.
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THE PARTIES ARE FURTHER NOTIFIED THAT WITHIN 14 DAYS OF SERVICE
of a copy of these Proposed Findings and Recommended Disposition they may file
written objections with the Clerk of the District Court pursuant to 28 U.S.C. §
636(b)(1)(c). A party must file any objections with the Clerk of the District Court
within the fourteen‐day period if that party wants to have appellate review of the
proposed findings and recommended disposition. If no objections are filed         no
appellate review will be allowed.




                                             _______________________________
                                             GREGORY B. WORMUTH
                                             United States Magistrate Judge
